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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

KENNETH RICKERSON,

              Plaintiff,
v.                                          CASE NO.: 4:20cv387-MW/HTC

MARK INCH, SECRETARY OF THE
FLORIDA DEPARTMENT OF
CORRECTIONS, et al.,

          Defendants.
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        ORDER ACCEPTING REPORT AND RECOMMENDATION

       This Court has considered, without hearing, the Magistrate Judge’s Report

and Recommendation, ECF No. 17. Upon consideration, no objections having been

filed by the parties,

       IT IS ORDERED:

       The report and recommendation is accepted and adopted, as this Court’s

opinion. The Clerk shall enter judgment stating, “Plaintiff’s claims are DISMISSED

without prejudice for maliciousness and abuse of judicial process.” The Clerk shall

close the file.

       SO ORDERED on January 25, 2021.
                                      s/Mark E. Walker
                                      Chief United States District Judge
